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06:04am            EST        21-Feb-01                   Deutsche              Banc      Alex.         Brown        Inc.      (J.      Moore/C.            Chen)         ORCL
ORCL:          Comments              from           Oracle           AppsWorld                Conference-Strong                     Buy


Moore,           James          A.        415-617-4269                                                                                    02/22/2001
Chen,    Charles                  415-617-4274
Deutsche     Banc                 Alex.   Brown                     Inc.
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                                                    ORACLE           CORPORATION                 (ORCL)         "STRONG         BUY"
                                              Comments               from        Oracle         AppsWorld             Conference
...............................................................................




Date:                           02/20/2001                           EPS:                      2000A                    2001E                     2002E
Price:                          23.13                                IQ                        0.04                     0.08                      0.i0
52-Wk         Range:            46        -    21                    2Q                        0.06                     0.11A                     0.13
Ann      Dividend:0.0                                                3Q                        0.08                     0.12                      0.14
Ann      Div       Yld:         0.00%                                4Q                        0.15                     0.20                      0.23
Mkt Cap   (mm) :135,888                                              FY(May)                   0.34                    0.51                       0.59
3-Yr Growth:    25%                                                  FY    P/EPS              68.X                    45.4X                      39.2X
                                                                     CY       EPS              0.43                    0.54                          NE
Est.        Changed            No                                    CY         P/EPS         53.8X                   42.8X                                NM
................................................................................


Industry:                      E-TECHNOLOGY
Shares           Outstanding(Mil.):                                  5874.987
Return           On     Equity                (2000)           :          48.0%
................................................................................




HIGHLIGHTS:
- Oracle   kicked   off                             its     AppsWorld               conference    yesterday   in New Orleans.                                           This
event   and a similar                               one     held   last             week   in Paris   are Oracle's   first
company-hosted                       user           conferences                  focused          on     its       e-business             application                 suite.
Attendees               include               customers,                  prcspects,              partners            and     members           of    the       financial
community.


     Focus         of     the        event           is     on       Oracle's            lli      e-business               applications               suite.            We
believe            Oracle's               message                  - 100%        Internet,             fully        integrated             over       best-of-breed                     -
is     beginning               to     resonate                 in        the     market         and      should        drive         continued             strong         growth
in applications                       revenue.      Release                         lli offers                fully        integrated             ERP,      supply
chain,   CRM and                     B2B  collaboration                            functionality.


- Key         customers               and           partners              are     highlighted                 in    keynote         presentations                   and
general            sessions               throughout                  the        week.          They      include           Compaq,         Cisco          Systems,
Hewlett-Packard,       Citigroup,                                     PricewaterhouseCoopers,                               Deloitte            Consulting,               and
EMC,   among   others.


- Overall               tone         at       AppsWorld               is       positive           from        speaking         with        Oracle
representatives,                          partners                 and      customers.                 That        said,      the       impact        of    current
macroeconomic                    weakness                 on       Oracle's             F3Q     (Feb)         remains         somewhat           of    an       unknown.
Given        end-of-quarter                          timing,              this      event         could        be     important            for       conversion              of
the F3Q           application                       sales          pipeline             with     numerous             prospects            in    attendance               in      New
Orleans.



DETAILS:
VIEW       FROM         ORACLE            APPSWORLD                 CONFEKENCE
Oracle    kicked    off                       its AppsWorld                     conference               in    New Orleans   with  a Presidents'
Day   keynote    speech                        from  former                    President              Bill     Clinton.    An estimated    II,000
attendees               saw      President                  Clinton's               speech,            although            there        appeared           to    be     fewer
than       that         number   when   the   conference's                                      scheduled             events    commenced     on                 Tuesday.
This       event         and   a similar    one   held   last                                   week   in          Paris    (6200   attendees)                    are
Oracle's              first          company-hosted                        user         conferences                focused         on     its    e-business




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 application                 suite.            Prior         events               were       hosted             by     the           independent                  Oracle
 Application              User   Group                 (OAUG).                   Focus  of the event     is                               on      Oracle's      lli
 e-business              applications                   suite.                   The company   continues                                  to      drive    home    the                 merits
 of     its       100%       Web-enabled,                   fully            integrated                  suite         which              include            faster
 implementation                   and  lower   cost of ownership                                          with   functionality     comparable    to
 best-of-breed                  vendors.     We believe   Oracle's                                         message    is beginning     to resonate                                                 in
 the     market          and        should        drive            continued                 strong             growth               in     applications                     revenue.
 Release    lli              offers    fully   integrated                                ERP,           supply         chain,               C_M       and     B2B
 collaboration                  functionality.


MANAGEMENT               GUIDANCE            UNCHANGED
 CFO     Jeff        Henley          gave        a brief               presentation                      to     the        financial                  community,               but
 offered           no commentary    on                      the    current                quarter                (company              is in             its quiet    period)
 and no           change  to guidance.                            Management                 still              expects               growth             in applications
 license           revenue           to     accelerate                  in        the     second              half         of        fiscal          2001         (May)        above              the
 43%     and       66%       reported            in    the         first           two       fiscal             quarters.                      Additional                comments
 from       Mr.     Henley's              presentation                      'were       as      follows:


 - 180        customers             are      now       live            on     lli       with        2500+            implementations                          in       progress.
45%      of     lli      represents               new        modules               added           to     prior            release              !i.


-     Key     lli      customers             live           or    in        implementation                         include                Citibank,
Hewlett-Packard,                       BellSouth,                 Compaq,               MBNA        Bank,            Bank            of    Montreal,               Xerox,              JDS
Uniphase,              Hitachi            Data        Systems,               GE     Medical,                  GE     Capital,                  GE    Aircraft             Engines,                 GE
Industrial,                  Ingersoll-Rand,                      Belgacom,                  Boeing             and        Ventas.


- Current              applications                   growth            drivers              include               customer                relationship                   management
 (CRM),        B2B       collaboraZion                      (supply               chain,           exchanges                and           procurement)                   and       a
rebound           in     ERP.          Management                 cautioned                  that         the        strength                  in    ERP     may         be    a       result
of     easy       compares             related              to    Y2K        slowing               in     1999.


- Other           growth         drivers              include               continued               strength                in       mid-market                   sales        (100%             y/y
growth         the       past       two      quarters),                     _iusiness              Online             (ASP       hosted              service),                and        strong
demand         in      international                   regions,                  notably            Europe.


      Oracle's           internal            deployment                     of     lli       continues                with           numerous               "go        lives"            the
last   several   months    (sales,                                marketing,                   sales           compensation,                         contracts,
telesales,     financials)     and                               more  planned                   for          Spring    (iStore,                      iSupport                and
Europe).               Instances             of       ERP        are        down        to     20       internally                   from           70    previously.


- The         database           market           remains               "alive           and        Well"            and        should              continue            to     provide
steady         long-term               growth.              No     commentary                   was           provided               on     near-term                  expectations.


- Application                   server         revenue,                currently                   5%    of        total,            could           grow         to    25%        over
time.


- Margin            expansion             opportunities                          should         continue                  in     coming              quarters.

CUSTOMER/PARTNER                     HIGHLIGHTS
Oracle         featured             several            key        customers                  and        partners                in        keynote           and        other
presentations                  on    the       conference's                       first         day.


- Compaq   Computer.                        Compaq   recently                           purchased      the   Oracle                            e-business     suite                     and
went  live   in December                       on iProcurement                             with   3000    users    in                          North   America.                        In
2001,         Compaq         plans        to      roll-out                  iProcurement                   to       60K         employees                worldwide.                    The
company           spends         S5B      annually                on        38K     indirect               line        items.                  Compaq          is       also
reselling              the     9i    platform.                    Joint:          customers                include               Acxiom             and      the        government
of Quebec.


- Cisco           Systems.             Cisco          CEO         John           Chambers               emphasized                   productivity                      gains        as       a




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key   benefit                    of !nternet     and e-business                                    infrastructure.                             Last year,                   Cisco   saved
$1.4B    using                   Internet    applications    off                                 of an expense                         base     of $6.5B.                    Oracle    and
Cisco           are        partnering                on        call        center/CR-_                opportunities.


 - Citibank.                      Citibank               is     currently                 rolling               out        iProcurement                 for           internal
 indirect              purchasing.                       It     is       als_       rolling             out          Citibank                Global         Xchange,               an
 indirect              marketplace                   for        Citibank              and        its       customers                   hosted         on     Oracle               Exchange.
Citibank    cited   integration     with    its internal                                                             EKP systems    as                 one of the reasons
it selected     Oracle    over  other    w_ndors   such                                                         as    Commerce   One.                   Citibank is also
developing                  and      integrating                     payment              technology                   into        Oracle            Exchange.                    Global
Xchange               is    expected                to    go       live         :in April.


- Hewlett-Packard.                              Hewlett-Packard                            implemented                      Oracle            CRM     modules               for      sales,
inside           sales,            marketing,                   call        center             and      sales              compensation.                     Integration                   and
providing               a consistent      customer      experience      were                                                key decision                    factors     in
choosing               Oracle.     Currently,      I000    sales   reps    in                                               North  America                   are   live    with
four       other            regions            planned               for     roll          out        in    May.             By        October         31,        HP        hopes         to
have       its         CRM       platform                largely            standardized                        on    Oracle.


- KPMG.                KPMG        developed                  an     Orac].e         practice                   around           consumer             and        industrial
clients           and   a proprietary      implementation      methodology.                                                                   KPMG was   involved                         in
Oracle           installs    at GE    Industrial,     GE Medical,     GE Power                                                                and Honeywell.


OTHER          CONFERENCE                 OBSERVATIONS


      A   Big     Five           consultant                   sees        strong           demand           in        its        Oracle         practice                which           numbers
2500       dedicated                 consultants                     worldwide.                      Anecdotally,                      this     consultant                   noted         that
90%       of     current             Oracle              deals           include           a    CRM        component                   compared             to    5%        a year         ago.
Bechtel   is                one      of     several                large        global               client           projects                this     firm            is    performing
for Oracle.


- The          single            data      model,              integrated                  suite,           fast            implementation                       and        low     cost        of
ownership    were   recurring                                  themes           heard           from        non-Oracle                   conference                   attendees                on
the benefits      of lli.


- A       few     shortfalls                   of        the       lli     suite           as    noted               by    another             Big     Five           consultant.
The       first            release         of       lli        was        somewhat              unstable                  with      a    large         number               of     code
patches           required,                    lli        is       now     in       release            3        (shipped            at        the     end        of     January).
Also,   a trade-off                        of purchasing                        a    full   suite   is reduced   leverage    in price
negotiations     from                      engaging    fewer                        vendors    than  in a comparable     best-of-breed
bake-off.




Information                  herein            is    believed               to       be        reliable               and     has        been        obtained                from
sources           believed                to    be       reliable,                  but        its     accuracy                  and     completeness                       cannot         be
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are  subject                 to change               without               not:ice.               This          publication    is provided    to you  for
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  Deutsche        Banc   Alex.   Brown   Inc.           maintains       a net      primary     market         in    the     common
  stock    of     Oracle    Corporation.
  The   following       stock(s)         is     (are)    optionable:         Oracle     Corporation.
  One or more    authors           of    this     comment     have      a   long    position     in     the        common     shares
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